* Case 1:20-cv-04004-LJL Document 3 Filed 05/22/20 Page 1 of 2

AO 440 (Rev. 06/12) Sumnions in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Southern District of New York
VINCEN] EZEIRUAKU

900 MONET COURT
WILLIAMSTOWN, NJ OGB094

 

Plaintiffs)
¥.
AMERICAN EAPKESS COMPANY
200 VESSEY STREET
NEW YORK, NEW YORK10285

Civil Action No.

 

Name Smee! Same mee el” ee nae ae! Se ee ee Ne!

Defendant(s)
SUMMONS IN A CIVIE ACTION

To: Defendant's name and address) AMERICAN EXPRESS COMPANY
200 VESSEY STREET
NEW YORK, NEW YORK10285

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it} -~- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (aj) or G) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure, The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

VINCENT EZEIRUAKU
900 MONET COURT

WILLIAMSTOWN, NJ 08094
(245)626-6328

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
Case 1:20-cv-04004-LJL Document 3 Filed 05/22/20 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

 

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and ttle, ifary) AMERICAN EXPRESS COMPANY

was received by me on Gate)

 

0 I personally served the summons on the individual at (piace)

On (date) ; or

 

C1 IT left the summons at the individual’s residence or usual place of abode with fname)

, a person of suitable age and discretion who resides there,

 

 

 

 

on fdate} , and mailed a copy to the individual’s last known address; or
O I served the summons on (name of individual} , Who is
designated by law to accept service of process on behalf of (same of organization)

On (date) ; or
0 I returned the summons unexecuted because ,or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

i declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
